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BIZZAK- JEFF BIZZAK (BIZZAK) was the father to                                           CHS met BIZZAK and
through                                 ).           was on BIZZAK's Board- Surf League. CHS met              and his
mother in California. CHS did not meet BIZZAK.           was a great athlete; he was a surfer, volleyball player (both
indoor and sand), and a water polo player.          was a setter in volleyball. BIZZAK's big thing was to get          to
work harder.         did do better in school. BIZZAK and CHS had a conversation regarding USC. USC called BIZZAK
a lot because of the wave technology BIZZAK had developed. BIZZAK did not want                to know that he got into
USC through friends at USC. CHS suggested using water polo or volleyball to get             into USC. CHS had both a
water polo and volleyball profile created for        which CHS sent to HEINEL. Most of the information on
athletic profile was real. Even though        was a good volleyball player, he was not good enough to be recruited
by USC. CHS got          into USC early.        was not told he got into USC through the side door until he received
his acceptance letter. The reason they did not tell        about the side door was because his parents wanted him
to continue working hard in school.         did his own tests; they were not taken by RIDDELL. BIZZAK knew
was getting into USC through athletics.           parents did not review          athletic profile, CHS just sent it to
USC. The BIZZAK's discussed Georgetown as another option for              but        wanted to be near water.
was involved in USC; he helped build surf technology at the school.




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                                         SIGNATURE

             Submitted By
    First Level Approved By




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